               Case 21-30886-lkg        Doc 86    Filed 03/01/23    Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF ILLINOIS

       In re:                               ) Case No. 21-30886
       Phyllis Marie Morrison               )
                                            ) Chapter 13
                                            )
                               Debtor       ) Motion to Terminate Wage Order

                        MOTION TO TERMINATE WAGE ORDER

       Comes now the above captioned Debtor, through the attorney, Tobias Licker, and for this
motion states as follows:


   1. The Court previously entered its order directing Rosch Company to withhold from the
       wages of debtor funds for the Chapter 13 Plan Payment.
   2. The Debtor now wishes to pay directly to the trustee.
   3. The Debtor needs the wage withholding to stop in order to free up funds to meet day to
       day expenses.
       Wherefore the Debtor prays the Court enter its order terminating the order to withhold
from wages and for such other relief as may be just and proper.



                                            /s/ Tobias Licker
                                            Tobias Licker, #56778,
                                            1861 Sherman Dr.
                                            St. Charles, MO 63303
                                            Tel. (636) 916-5400
                                            Fax (636) 916-5402
                                            E-mail: Tobiaslicker@hotmail.com
               Case 21-30886-lkg      Doc 86    Filed 03/01/23    Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing Objection to
Claim#36 was served on the parties listed below by ordinary U.S. Mail or served electronically
through the Court's ECF System at the email address registered with the Court on this day,
Wednesday, March 1, 2023

                                                           /s/__Sandeep Gulia


Russell C. Simon, Trustee           Via CM/ECF
33 Bronze Pointe
Suite 110
Swansea, IL 62226

United States Attorney's Office
Financial Litigation Unit
9 Executive Drive
Fairview Heights, Illinois 62208

Rosch Company
18390 Wings Corporate Drive
Chesterfield, MO 63005
